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 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11

12    IN RE: SOCIAL MEDIA ADOLESCENT                     Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
13    PRODUCTS LIABILITY LITIGATION                      MDL No. 3047

14
      This Document Relates to:                          [PROPOSED] REVISED COMMON
15                                                       BENEFIT ORDER
      ALL ACTIONS
16

17
            In Case Management Order (“CMO”) No. 1 (ECF No. 75), the Court appointed Leadership
18
     for Plaintiffs. CMO No. 2 (ECF No. 82) governs the responsibilities and operation of Plaintiffs’
19
     Leadership. In accordance with CMO No. 2, the Court now sets specific guidelines and rules for
20
     work done and expenses incurred for the common benefit of all Plaintiffs in this MDL. This Order
21
     also provides for the fair and equitable sharing among Plaintiffs and their counsel of the burden of
22
     services performed and expenses incurred by attorneys acting for the common benefit of all
23
     Plaintiffs in this complex litigation. Nothing in this Order shall be interpreted to affect any
24
     proceedings other than those involving the authorities, duties, responsibilities, guidelines, and rules
25
     of and for Plaintiffs’ counsel discussed herein.
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27

28
                                                                                               [PROPOSED]
                                                                                     COMMON BENEFIT ORDER
                                                                                      CASE NO. 4:22-MD-03047-YGR
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 1            This Order applies to:

 2                   a.      All cases or claims now or later subject to the jurisdiction of this Court in

 3   this MDL, regardless of whether the case is resolved while the case is pending before this Court,

 4   after a remand from this Court to the transferor court, or in bankruptcy;1

 5                   b.      All cases or claims, filed or unfiled, in which any counsel associated with

 6   any one case filed in or transferred to this MDL has a fee interest;

 7                   c.      All cases or claims settled pursuant to an MDL-negotiated or supervised

 8   settlement agreement; and

 9                   d.      All cases or claims of clients of any counsel who signs the Participation

10   Agreement as defined herein, whether the case was filed, unfiled or tolled.

11   I.       COMMON BENEFIT DOCTRINE
12            The United States Supreme Court’s common benefit doctrine was initially established in

13   Trustees v. Greenough, 105 U.S. 527 (1881); was refined in, inter alia, Central R.R. & Banking

14   Co. v. Pettus, 113 U.S. 116 (1885); Sprague v. Ticonic Nat’l Bank, 307 U.S. 161 (1939); Mills v.

15   Elec. Auto-Lite Co., 396 U.S. 375 (1970); and Boeing Co. v. Van Gemert, 444 U.S. 472 (1980); and

16   was approved and implemented in the MDL context in, inter alia, In re Air Crash Disaster at

17   Florida Everglades on December 29, 1972, 549 F.2d 1006, 1019-21 (5th Cir. 1977); and In re

18   MGM Grand Hotel Fire Litig., 660 F. Supp. 522, 525-29 (D. Nev. 1987). Common Benefit Work

19   Product includes all work performed for the benefit of all claimants, including pre-trial matters,

20   discovery, trial preparation, a potential settlement process, and all other work that advances this
21   litigation to conclusion.

22   II.      ADOPTION OF CASE MANAGEMENT PROTOCOLS FOR COMMON BENEFIT
              WORK
23
              The Court hereby adopts the following guidelines for the management of case-staffing,
24

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     1
       If a case is determined to be improperly removed to this Court after the Court’s consideration of a
26   remand motion and is remanded to the transferor court, the case will not automatically be subject to
     assessment just by virtue of it having been temporarily venued in this Court. However, if the case received
27   and benefited from the work product of the MDL, it could be assessed, after due consideration by the
     Court following briefing by the parties.
28
                                                                                                  [PROPOSED]
                                                        -2-                             COMMON BENEFIT ORDER
                                                                                         CASE NO. 4:22-MD-03047-YGR
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 1   timekeeping, cost reimbursement, and related common benefit issues. The recovery of common

 2   benefit attorneys’ fees and cost reimbursements will be limited to “Common-Benefit Counsel.”

 3   “Common-Benefit Counsel” is defined as Plaintiffs’ Co-Lead Counsel, Liaison Counsel, Steering

 4   Committee Leadership and Membership (along with members and staff of their respective firms),

 5   and any other counsel authorized by Co-Lead Counsel to perform work that may be considered for

 6   common benefit compensation.

 7          Eligibility does not pre-determine payment. Common-Benefit Counsel shall be eligible to

 8   receive common benefit attorneys’ fees and reimbursement of costs and expenses only if the time

 9   expended, costs incurred, and activity in question were (a) for the common benefit of Plaintiffs; (b)

10   timely submitted; and (c) reasonable. Common-Benefit Counsel shall agree to the terms and

11   conditions herein, including submitting to this Court’s jurisdiction and agreeing that this Court has

12   plenary authority regarding the award and allocation of common benefit attorneys’ fees and

13   expense reimbursements in this matter.

14          As directed in CMO No. 2, Co-Lead Counsel will be responsible for collecting monthly

15   common benefit time and expense submissions from Common-Benefit Counsel; auditing such

16   submissions, with the assistance of the Common Benefit Time and Expense Billing Manager and

17   Auditor Amy Collins, PC (“Auditor”), see supra § II.G, for compliance with the directives set forth

18   in this Order; informing Common-Benefit Counsel when their submissions do not comply with the

19   directives set forth in this Order; and providing quarterly summaries of attorneys’ fees and costs by

20   timekeeper to the Court by email at ygrpo@cand.uscourts.gov six weeks following the end each
21   quarter (e.g., May 12, 2023; August 11, 2023; November 10, 2023; etc.). Co-Lead Counsel’s and

22   the Auditor’s auditing responsibility notwithstanding, the ultimate determination of what is

23   compensable common benefit work, and the extent or rate at which it is compensable, is within the

24   purview of the Court.

25          If Common-Benefit Counsel are unsure if the action they are about to undertake is

26   considered Common Benefit Work, they shall ask Co-Lead Counsel in advance as to whether such
27   time may be compensable.

28
                                                                                             [PROPOSED]
                                                     -3-                           COMMON BENEFIT ORDER
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 1          A.       Compensable Common Benefit Work

 2          “Common Benefit Work” includes all work done and expenses incurred that inure to the

 3   common benefit of Plaintiffs in this MDL.

 4          Guidelines regarding compensable and non-compensable work are set forth below.

 5          •    Consolidated Pleadings: (i) factual and legal research and preparation of consolidated

 6               master complaint(s) and short-form complaint(s); (ii) comments and suggestions

 7               regarding the consolidated master complaint(s); and (iii) presentation of argument

 8               before the Court regarding common factual or legal issues.

 9          •    Briefing: drafting and researching (i) dispositive and non-dipositive motions and

10               responses thereto, including motions to dismiss, discovery motions, Daubert motions,

11               and motions for summary judgment; (ii) status conference statements; and

12               (iii) stipulations.

13          •    Discovery and Document Review: Only discovery and document review authorized

14               and assigned by Co-Lead Counsel to an attorney or law firm will be considered

15               Common Benefit Work. If a firm/attorney elects to review documents that have not been

16               assigned to them by Co-Lead Counsel, that review may not be considered Common

17               Benefit Work. Descriptions associated with “document review” should contain

18               sufficient detail to allow those reviewing the time entry to generally ascertain what was

19               reviewed. For example, indicating the custodian(s), search topic(s), or number of

20               documents reviewed is the kind of description needed. Likewise, time spent reviewing

21               discovery requests and preparing responses for the benefit of counsel’s own clients is

22               not considered Common Benefit Work, unless it is at Co-Lead Counsel’s direction and

23               for a bellwether case after the case is selected as a bellwether.

24          •    Use of Contract Attorneys: Contract attorneys may be used only with prior

25               authorization of and for work authorized by Co-Lead Counsel. Such authorization

26               should be included in the time submission for said attorneys. Generally this

27               authorization will be limited to first-level document review and legal research. The

28               terms of the compensation to contract attorneys engaged by Common-Benefit Counsel

                                                                                               [PROPOSED]
                                                      -4-                            COMMON BENEFIT ORDER
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 1            (e.g., whether at actual cost or on a cost + multiplier basis) will be determined at the

 2            time of any Court approved disbursement of any recovery, if any.

 3        •   Depositions: Co-Lead Counsel shall exercise discretion, judgment, and prudence to

 4            designate only that number of attorneys to participate, in person or remotely as

 5            appropriate, in any given deposition that is commensurate with the nature of that

 6            deposition so as to avoid over-staffing. For attorneys not assigned to first-chair, second-

 7            chair, or defend a deposition, approval from Co-Lead Counsel should be sought

 8            beforehand, and included in the relevant time submission. Thus, for example, the

 9            deposition of a causation expert proffered by Defendants would typically justify the

10            assignment of more attorneys than would the defense of the deposition of one of

11            Plaintiffs’ fact witnesses. Time and expenses for Common-Benefit Counsel not

12            designated as one of the authorized questioners or otherwise authorized to attend the

13            deposition by Co-Lead Counsel may not be considered Common Benefit Work but,

14            rather, considered as attending on behalf of such counsel’s individual clients.

15            Unnecessary attendance by counsel may not be compensated in any fee application to

16            the Court.

17        •   Bellwethers: When authorized by Co-Lead Counsel, Common Benefit Work may

18            include: (i) communication with clients for the purposes of identifying suitable

19            bellwether candidates; (ii) factual and legal research necessary to select the appropriate

20            bellwethers; and (iii) prosecution of the selected bellwether cases.
21        •   Periodic MDL Status Conferences: The Court intends to hold periodic status

22            conferences to ensure that the litigation moves forward efficiently, and that legal issues

23            are resolved with guidance from or formal rulings by the Court. Individual attorneys are

24            free to attend any status conference held in open court to stay up to date on the status of

25            the litigation, but except for Co-Lead Counsel, Plaintiffs’ Liaison Counsel, Plaintiffs’

26            Steering Committee Leadership and their designees (including, to the extent authorized
27            by Co-Lead Counsel, members of the Plaintiffs’ Steering Committee Membership),

28            attending and listening to such conferences is not compensable Common Benefit Work.
                                                                                            [PROPOSED]
                                                   -5-                            COMMON BENEFIT ORDER
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 1            All attorneys have an obligation to keep themselves informed about the litigation so that

 2            they can best represent their respective clients. Mere attendance at a status conference

 3            will not be considered common benefit time, and expenses incurred in relation thereto

 4            will not be considered common benefit expenses. The attorneys designated by Co-Lead

 5            Counsel to address issues that will be raised at a given status conference or requested

 6            by Co-Lead Counsel to be present at a status conference are working for the common

 7            benefit, and their time will be considered for the common benefit. Similarly, any

 8            attorney whose attendance at a status conference is specifically requested by the Court

 9            (or by any other judge presiding over this matter or Court-appointed Special Master) to

10            address a common issue may submit his or her time and expenses for such attendance

11            for evaluation as Common Benefit Work.

12        •   Expert-Related Work: If a Common-Benefit Counsel retains an expert without the

13            knowledge and approval of Co-Lead Counsel, time and expenses attributable to the

14            same may not be approved as Common Benefit Work. On the other hand,

15            communications with and retention of experts with the knowledge and approval of Co-

16            Lead Counsel will be considered common benefit time.

17        •   Leadership Meetings or Calls: PSC members may submit common benefit time for

18            participation in leadership communications and meetings that are germane to all

19            members of the PSC and are necessary to fulfill their Court-appointed obligations.

20            During leadership phone calls or other meetings there is a presumption that one
21            participant per Plaintiffs’ Steering Committee Membership firm, and two participants

22            per Plaintiffs’ Steering Committee Leadership firm, will qualify for common benefit

23            time, . In addition, there is a presumption that additional counsel from PSC firms who

24            are tasked in writing with assignments by Co-Lead Counsel or the Co-Chairs of

25            Subcommittees may participate in Subcommitee calls relevant to those assignments.

26        •   Attendance at Seminars: Except as approved by Co-Lead Counsel, attendance at
27            seminars (e.g., American Association for Justice Section Meetings, Mass Torts Made

28            Perfect, Harris Martin, and similar seminars and Continuing Legal Education programs)
                                                                                          [PROPOSED]
                                                  -6-                           COMMON BENEFIT ORDER
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 1            shall not qualify as Common Benefit Work, or the expenses pertaining thereto as

 2            Common Benefit Expenses.

 3        •   Review of Court Filings and Orders: All attorneys have an obligation to keep

 4            themselves informed about the litigation so that they can best represent their respective

 5            clients, and review of briefs and filings made and Orders entered in this litigation is part

 6            of that obligation. Only Co-Lead Counsel, Liaison Counsel, Steering Committee

 7            Leadership and those attorneys working on assignments therefrom that require them to

 8            review, analyze, or summarize those filings or Orders in connection with their

 9            assignments are doing so for the common benefit. All other counsel are reviewing those

10            filings and Orders for their own benefit and that of their respective clients and such

11            review will not be considered Common Benefit Work.

12        •   Emails and Correspondence: Except for Co-Lead Counsel, Liaison Counsel, Steering

13            Committee Leadership, and their assigned attorneys and staff, time recorded for

14            reviewing emails and other correspondence is not compensable unless germane to a

15            specific task being performed by the receiving or sending attorney or party that is

16            directly related to that email or other correspondence and that is for the common benefit

17            of Plaintiffs. Thus, for example, review of an email or other correspondence sent to

18            dozens of attorneys to keep them informed on a matter on which they are not specifically

19            working would not be compensable as Common Benefit Work.

20        •   Other Non-Compensable Work: The following types of work will not be
21            compensated: leadership organization and applications prior to the appointment of

22            leadership, time not authorized by Co-Lead Counsel, duplicative time, excessive

23            amounts of time spent on a particular task, work performed by a person more senior

24            than reasonably necessary for the task (which may not be compensated or may be

25            compensated at a reduced rate), time spent organizing case files, time spent on internal

26            firm management, and time spent preparing and reviewing time and expense
27            submissions or responding to questions concerning time and expense submissions.

28            Because all attorneys have an obligation to stay informed about the litigation so that
                                                                                            [PROPOSED]
                                                    -7-                           COMMON BENEFIT ORDER
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 1                they can best represent their respective clients, review of emails and court filings,

 2                attendance at status conferences, participation in conference calls, and similar activities

 3                will not be considered Common Benefit Work, unless authorized in advance by Co-

 4                Lead Counsel in furtherance of a specific common benefit objective.

 5           B.      Common Benefit Timekeeping Protocols
 6           All time must be accurately and contemporaneously maintained. Common-Benefit Counsel

 7   shall keep contemporaneous billing records of the time spent in connection with Common Benefit

 8   Work on this MDL, indicating with specificity the hours (in tenth-of-an-hour increments) and

 9   billing rate, along with a description of the particular activity (such as “conducted deposition of

10   John Doe”). Descriptions must bear sufficient detail to identify the precise task and how it relates

11   to Common Benefit Work. Individuals identified in time descriptions must be described by at least

12   their first initial and last name, not by initials. “John Doe” is preferred; “J. Doe” is acceptable; and

13   “JD” is unacceptable.

14           When referring to a specific plaintiff within the time description, the term “plaintiff” should

15   be placed prior to the full name or first initial & full last name. Likewise, when referring to an

16   expert or consultant within the time description, the term “expert” or “consultant” should be placed

17   prior to the full name or first initial & full last name.

18           Each time entry must be categorized using one of the categories in Exhibit A. In general,

19   when possible, a more specific category should be used in place of a more general category. Under

20   no circumstances should a submitting firm make up new categories for use in its submission.
21           While the categories are generally self-explanatory, below are some further explanations of

22   some of the categories that may have the potential for the most confusion.

23           •    Leadership Case Management Duties (1) – This category code should only be used

24                for work done by Court-appointed Counsel and their assigned attorneys and staff, in

25                their capacity as Court-appointed Counsel. This category should be used primarily for

26                Court-appointed Counsel’s more general or administrative responsibilities that do not
27                fit into other, more specific categories. These include, but are not limited to, reviewing,

28                analyzing, and summarizing filings and orders, and coordinating and designating non-
                                                                                                [PROPOSED]
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 1            Court-appointed attorneys to conduct common-benefit tasks such as document reviews,

 2            depositions, or work with experts. This category should not be used by any timekeeper

 3            who is not a Court-appointed Counsel or one of their assigned attorneys or staff.

 4        •   Administrative (3) – This category should be used for internal filing and organizational

 5            tasks, such as reviewing and downloading documents from the ECF case docket(s),

 6            creating charts, reviewing filings generally, updating calendars, copying and

 7            distributing documents, etc., whether done by an attorney or staff. Please remember that

 8            the review of filings and orders to stay informed about the litigation is every attorney’s

 9            obligation, and time spent on such tasks is not compensable as Common Benefit Work

10            for most timekeepers.

11        •   Research (6) – This category should not be used if a more specific category can be used

12            instead. If research is done while writing a brief, that should be clearly indicated in the

13            time description and coded as category 5 (Pleadings/Briefs/Pre-trial Motions/Legal

14            Memoranda). Since most research will likely be done in service of a legal writing, court

15            appearance, discovery, or other specific task (and thus should be coded with the

16            appropriate category for the specific task), category 6 should be used relatively

17            infrequently.

18        •   Discovery (9) – Almost all common benefit discovery-related tasks should be coded

19            with this category. The exceptions are: document review (which should be coded

20            category 8), discovery-related motions or briefs (which should be coded category 5),
21            and discovery-related court appearances (which should be category 4).

22        •   Document Review and Analysis (8) – For the purposes of this category, the word

23            “document” specifically means documents or other information produced in discovery.

24            In other words, this category is not to be used for every instance of reading a

25            document—it is more specific than that. Only discovery document review specifically

26            authorized by Co-Lead Counsel and assigned to an attorney will be considered Common
27            Benefit Work. Time entry descriptions for document review tasks should include

28            specific details such as custodians, search topic(s), number of documents reviewed, or
                                                                                            [PROPOSED]
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 1               other similar details sufficient to explain and justify the time spent.

 2          •    Litigation Strategy & Analysis (7) – This is a general category that should not be used

 3               if a more specific category can be used instead. Examples of work coded to this category

 4               would include internal firm strategy sessions regarding division/completion of work

 5               assigned by Co-Leads or internal correspondence regarding same.

 6          •    Pleadings/Briefs/Pre-trial Motions/Legal Memoranda (5) – All research and drafting

 7               time spent for a specific pleading, brief, motion, or similar legal writing should be coded

 8               in this category.

 9          •    Trial (13) – This category is reserved solely for tasks performed during a bellwether or

10               other trial designated by the Co-Leads as a Common Benefit trial.

11          •    Miscellaneous (15) – This is a general category that should not be used if a more

12               specific category can be used instead. Any activities that are done in connection with or

13               as part of a larger task like a brief, or a court appearance, or a meeting, should be

14               categorized according to that larger task. This category should be used relatively

15               infrequently; however, if it is used, it is critical that the description of the task be

16               sufficiently detailed to make clear how the work was common benefit.

17          No time entry should contain the description of Common Benefit Work for more than one

18   category. If on the same day the timekeeper performs two tasks that fall into two different

19   categories, then there should be two separate entries for that timekeeper on that date, each with the

20   appropriate category code.
21          C.      Hourly Rates
22          Common-Benefit Counsel shall record their then-present hourly rates for all attorneys and

23   staff. Counsel shall not bill a rate other than their standard rates at the time the work is performed.

24   Use of these rates does not guarantee their payment.

25          D.      Document Review Platform
26          Co-Lead Counsel has or will put out for bid any vendor services and strive to get the best
27   services for the best price without sacrificing quality. A document review platform and analysis

28   system will be used to avoid unnecessary expenses and procedures will be put in place to monitor
                                                                                                [PROPOSED]
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 1   how much time is spent analyzing documents and to monitor the efficiency and quality of analysis

 2   by other firms.

 3          E.         Common Benefit Expenses Protocol
 4                     1.    Shared Costs
 5          “Shared Costs” are costs that will be paid out of the Litigation Fund (“Fund”) administered

 6   by Co-Lead Counsel. Each member of the Plaintiffs’ Leadership shall contribute to the Fund at

 7   times and in amounts sufficient to cover Plaintiffs’ expenses for the administration of this MDL.

 8   The timing and amount of each assessment will be determined by Co-Lead Counsel and each

 9   assessment will be paid within 30 days as instructed by Co-Lead Counsel. Failure to pay

10   assessments will be grounds for removal from the appointments made in previous Court Orders or

11   other common benefit assignments.

12          Shared Costs are costs incurred for the common benefit of Plaintiffs in this MDL as a whole,

13   including costs for bellwethers once set for trial. All Shared Costs must be approved in writing by

14   Co-Lead Counsel prior to payment.

15          All costs that meet these requirements and fall under the following categories shall be

16   considered Shared Costs and qualify for submission and payment directly from the Fund:

17          •    Court, filing, and service costs related to common issues;

18          •    Court reporter, videographer, and interpreter costs for depositions;

19          •    Document (both electronic and hard copy) depository creation, operation, staffing,

20               equipment, and administration;
21          •    Document and case analysis software used for the common benefit of a substantial

22               number of cases and approved by Co-Lead Counsel;

23          •    Extraordinary administration costs incurred by Plaintiffs’ Leadership (e.g., expenses for

24               equipment, technology, conference rooms, etc.), approved by Co-Lead Counsel;

25          •    Legal, tax, and accountant fees relating to the Fund;

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27

28
                                                                                             [PROPOSED]
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 1          •   Expert witness and consultant fees and expenses for experts whose opinions and

 2              testimony would be generic and for the common benefit of a substantial number of

 3              cases. There shall be no reimbursement for case-specific experts except with the

 4              approval of Co-Lead Counsel;

 5          •   Extraordinary printing, copying, coding, and scanning costs incurred by Plaintiffs’

 6              Leadership related to the above , approved by Co-Lead Counsel;

 7          •   Research by outside third-party vendors/consultants/attorneys, approved by Co-Lead

 8              Counsel;

 9          •   Translation costs related to the above, approved by Co-Lead Counsel;

10          •   Bank or financial institution charges relating to the Fund;

11          •   Investigative services, approved by Co-Lead Counsel; and

12          •   Common Benefit Time and Expense Billing Manager and Auditor invoices.

13          Co-Lead Counsel shall prepare and be responsible for distributing reimbursement

14   procedures and the forms associated therewith. Shared Costs should not be included on the monthly

15   expense report. Requests for payments from the Fund for Common Benefit expenses shall include

16   sufficient information to permit Co-Lead Counsel and a Certified Public Accountant (“CPA”) to

17   account properly for costs and to provide adequate detail to the Court if necessary.

18                  2.     Held Costs
19          “Held Costs” are those that will be carried by each attorney in this MDL and reimbursed as

20   and when Co-Lead Counsel determines to do so. Held Costs are those that do not fall into the above
21   Shared Costs categories but are incurred for the common benefit of all Plaintiffs in this MDL,

22   including costs of bellwethers once set for trial. Held Costs shall be recorded in accordance with

23   the guidelines set forth herein and on the form provided as Exhibit B hereto.

24          Held Costs shall be subject to the following limitations:

25                         a.      Travel Limitations
26          Only reasonable travel expenses will be reimbursed. Except in unusual circumstances
27   approved by Co-Lead Counsel, all travel reimbursements are subject to the following limitations:

28          •   Airfare: For routine domestic flights, ordinarily only the price of a refundable,
                                                                                               [PROPOSED]
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 1              changeable and convenient coach fare seat or its equivalent will be reimbursed. For

 2              international travel, business class, or if business class is not available, first class, is

 3              reimbursable.

 4          •   Hotel: Hotel room charges for the average available room rate of a reasonable business

 5              hotel will be reimbursed.

 6          •   Meals: Meal expenses must be reasonable. Unusually large meal expenses may be

 7              reviewed by Co-Lead Counsel and disallowed. Alcohol expenses are not reimburseable.

 8          •   Cash Expenses: Miscellaneous cash expenses for which receipts generally are not

 9              available (e.g., tips, luggage handling) will be reimbursed up to $50.00 per trip, as long

10              as the expenses are properly itemized.

11          •   Automobile Rental: Automobile rentals must be reasonable for the date and location

12              of the rental.

13          •   Mileage: Mileage claims must be documented by stating origination point, destination,

14              and total actual miles for each trip. The rate will be the maximum rate allowed by the

15              Internal Revenue Service.

16                          b.     Non-Travel Limitations
17          •   Shipping, Overnight, Courier, and Delivery Charges: All claimed Common Benefit

18              shipping, overnight, courier, or delivery expenses must be documented with bills

19              showing the sender, origin of the package, recipient, and destination of the package.

20              Such charges are to be reported at actual cost.
21          •   Postage Charges: Common Benefit postage charges are to be reported at actual cost.

22          •   In-House Photocopy: The maximum charge for Common Benefit in-house copies is

23              $0.20 per black and white page, and $1.00 per color page.

24          •   Computerized Research- Lexis, Westlaw, or Bloomberg: Claims for Lexis, Westlaw,

25              Bloomberg, or other computerized legal research expenses should be in the actual

26              amount charged to the firm and appropriately allocated for these research services.
27          No entry should contain more than one category of expense when practical, and no entry

28   should have more than one expense category code assigned to it. If, on the same day, one person
                                                                                               [PROPOSED]
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 1   incurs two expenses that fall into two different categories, then there should be two separate entries

 2   for that person for that date, each with the appropriate expense description and category code.

 3   Similarly, when practical, no listed expense entry should include expenses incurred by more than

 4   one person. If multiple people incur the same expense for the same category, then generally there

 5   should be a separate entry for each person, unless a single person paid the expense for multiple

 6   people.

 7             Every expense entry should be as detailed and specific as reasonably practical. Descriptions

 8   such as “Filing and Service Fees,” “Service of Process,” “Plane Ticket,” “Investigation Fees,”

 9   “Hearing Transcript,” and “Deposition Services” are not sufficient. Every entry must describe the

10   task for which the expense was incurred in enough detail to reasonably identify what the expense

11   was, who incurred it, why it was incurred, and how it related to Common Benefit Work. For

12   example: What was filed? Who was served with what document? What hearing transcript was

13   requested and for what purpose? For whom was the plane ticket purchased, for air travel from where

14   to where, for what purpose, and on what dates of travel? (The same goes for hotels, taxis, car

15   services, tips, meals, and any other travel-related expenses.) Expense entries without sufficient

16   detail may be rejected at Co-Lead Counsel’s discretion.

17             Attorneys shall provide receipts for all expenses. This does not mean that receipts are to be

18   provided “upon request”—it means each firm must provide receipts monthly along with their

19   expense submissions, in PDF form, not hard copy. Credit card receipts or sufficiently specific

20   entries on monthly statements are an appropriate form of verification. The description of unclaimed
21   expenses may be redacted.

22             F.     Protocols for Submission of Time and Expenses
23                    1.      Format
24             For Co-Lead Counsel to maintain all time submissions in a fully sortable and searchable

25   format, all the time and expense submissions must be provided by submitting counsel in the

26   following format:
27             1.     Counsel must use files formatted consistent with the Exhibits to this Order.

28
                                                                                               [PROPOSED]
                                                       - 14 -                        COMMON BENEFIT ORDER
                                                                                      CASE NO. 4:22-MD-03047-YGR
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 1          2.      In the “Monthly Time Report” and the “Monthly Expense Report,” the person who

 2   performed each task should be identified in the column called “Last Name, First Name” by their

 3   complete last name, a comma, and their complete first name (e.g. Smith, John). Please do not use

 4   abbreviations or initials in this column.

 5          3.      In all reports, the date must be provided in month/day/year format (e.g.,

 6   12/01/2022).

 7                  2.      Deadlines
 8          All time and expense submissions must be timely submitted to Co-Lead Counsel and the

 9   Auditor by the 20th day of each month, in accordance with the guideline set forth herein, using the

10   following email address: MDL3047Time@amylcollinspc.com. If the 20th day of the month falls on

11   a Saturday, Sunday, or legal holiday, time and expense submissions must be submitted the next day

12   that is not a Saturday, Sunday, or legal holiday. The first submission is due on April 20, 2023, and

13   should include all time and expense from inception through March 31, 2023. Lead Counsel and the

14   Auditor will determine prior to the time of allocation whether pre-MDL formation time or costs

15   submitted warrant inclusion as common benefit work. After this first submission, each monthly

16   submission should include all common benefit time and expenses incurred from the first to the last

17   day of the preceding month (e.g. the submission due May 22, 2023 should contain all common

18   benefit time and expenses incurred from April 1, 2023 through April 30, 2023).

19          Although counsel should endeavor to submit all common benefit expenses incurred in a

20   certain month in the submission made on the 20th of the next month, the realities of third-party
21   billing and credit card statement schedules may make such quick expense submission difficult in

22   some circumstances. Thus submissions of “supplemental” common benefit expense reports will be

23   permitted for those expenses incurred during the previous six months that—because of

24   circumstances outside the submitting counsel’s control—could not have been submitted by the

25   deadline. Any common benefit expenses submitted more than six months in arrears may not be

26   considered or included in any compilation of common benefit expense calculation and may be
27   disallowed, except for good cause shown and with approval of Co-Lead Counsel.

28          Supplemental submissions of common benefit time will be permitted only for good cause
                                                                                            [PROPOSED]
                                                    - 15 -                        COMMON BENEFIT ORDER
                                                                                   CASE NO. 4:22-MD-03047-YGR
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 1   shown and with the approval of Co-Lead Counsel.

 2           G.      Auditing Time and Expense Submissions
 3           Plaintiffs’ Co-Lead Counsel have retained Amy Collins, PC, to serve as Common Benefit

 4   Time and Expense Billing Manager and Auditor for common benefit time and expenses submitted

 5   for work performed in this MDL. The Auditor will contemporaneously review all MDL submitted

 6   common benefit time and expenses for compliance with this Order and identify those entries which

 7   are not compliant or otherwise appear not to be reasonable. Co-Lead Counsel shall determine if

 8   time and expenses identified as potentially not compensable or reasonable should be disallowed,

 9   and notify (through the Auditor or directly) the firm/person who submitted the time/expense of

10   their determination. Co-Lead Counsel will endeavor to provide such notification on a rolling basis

11   and may allow the firm/person an opportunity to correct the problem if appropriate. However,

12   nothing in this Order shall be construed to mean that time entries that are not identified by the

13   Auditor or Co-Lead Counsel as not compliant, not reasonable, or not compensable in the rolling

14   review process are thereby deemed compliant, reasonable, or compensable. The Auditor also will

15   assist Co-Lead Counsel with quarterly submissions to the Court. The Auditor shall be paid from

16   the Fund as a Shared Expense.

17                   1.      Immunity
18           The Auditor, including any person acting as assistant or consultant to the Auditor in relation

19   to her responsibility under this Order, shall enjoy the same protections from being compelled to

20   give testimony and from liability for damages as those enjoyed by other federal judicial adjuncts
21   performing similar functions. Specifically, the Auditor and the Auditor’s staff working on this

22   matter are protected by absolute quasi-judicial immunity. Co-Lead Counsel will make readily

23   available to the Auditor any and all facilities, files, database, and documents that may be necessary

24   to fulfill her functions.

25                   2.      Indemnity
26        In the event of any future settlements or verdicts resulting in the creation of a Qualified
27   Settlement Fund (QSF), the Auditor shall be indemnified and held harmless by the QSF and the

28   attorney claimants seeking payment from the QSF from any claims made by any alleged lien holder,
                                                                                              [PROPOSED]
                                                     - 16 -                         COMMON BENEFIT ORDER
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 1   or other person or entity that attempts to assert a right of payment, reimbursement or

 2   garnishment against the Fund. Should the Auditor be named as a party to, or threatened to be made

 3   a party to, or named as a witness in, any threatened, pending, or completed action, suit, or

 4   proceeding of any kind, whether civil, administrative, or arbitrative, and whether brought by or

 5   against or otherwise involving the Fund, by reason of the Auditor having served in any capacity on

 6   behalf of the Fund, the Auditor shall be indemnified and held harmless by the QSF and the attorney

 7   claimants seeking payments from the QSF against reasonable expenses, costs and fees (including

 8   attorneys' fees), judgment, awards, costs, amounts paid in settlement, and liabilities of all kinds

 9   incurred by the Auditor in connection with or resulting from such actual or threatened action, suit

10   or proceeding; except to the extent that it is finally determined by this Court that the Auditor was

11   grossly negligent or acted with willful misconduct in connection with the administration of this

12   Fund.

13   III.    PLAINTIFFS’ SOCIAL MEDIA FEE AND EXPENSE ACCOUNTS
14           Co-Lead Counsel is directed to establish two bank accounts (the “Accounts”) to receive and

15   disperse funds in the event of settlements or verdicts as provided in this Order and any subsequent

16   Orders. The first account shall be designated as the “Social Media Fee Account” and the second

17   should be designated as “Social Media Expense Account” respectively. The Accounts will be held

18   subject to the direction of this Court.

19           A.     Administration of the Social Media Fee and Expense Accounts
20           Co-Lead Counsel shall identify a Certified Public Accountant to serve as “Administrator”
21   to be appointed by a separate Order who will be directed to oversee the Accounts. The Accounts

22   shall be established at a commercial bank that the Administrator shall select in consultation with

23   the Co-Lead Counsel. The commercial bank shall be the “Escrow Agent.” No disbursement shall

24   be made from the Accounts other than by Order of this Court pursuant to a petition requesting an

25   award of fees and reimbursement of expenses (a “Petition”). No Petition shall be filed without leave

26   of Court. No person or entity has any right to make any claim against any of the amounts held in
27   the Accounts except to the extent this Court issues an Order directing the disbursement of any

28   amounts to such a person or entity. The rights of any such person or entity are limited to the amount
                                                                                             [PROPOSED]
                                                    - 17 -                         COMMON BENEFIT ORDER
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 1   ordered by the Court to be so disbursed to that particular person or entity.

 2          The amounts held in the Accounts shall not constitute the separate property of any person

 3   or entity or be subject to garnishment or attachment for the debts of any person or entity. However,

 4   any specific amounts ordered by the Court to be disbursed to a person or entity, upon the entry of

 5   such an Order, can then be subject to garnishment or attachment, limited to the amount of the

 6   disbursement so ordered. These limitations do not preclude a person or entity from transferring,

 7   assigning, or creating a security interest in potential disbursements from the Accounts to which

 8   such person or entity may be entitled as determined by the Court, if permitted by applicable state

 9   laws and if subject to the conditions and contingencies of this Order. However, no notice of lien or

10   security interest in potential disbursements or of a transfer or assignment of a right of potential

11   disbursements shall be effective unless and until it is filed in this Court and served upon the

12   Administrator.

13          In connection with the administrative services, the Administrator shall:

14                    a.    Have all such power and authority over the Accounts as necessary or

15   convenient to exercise the authority granted in this Order;

16                    b.    Keep and report periodically to the Court, to the extent requested by the

17   Court, an accounting of the funds received, maintained and disbursed relating to the Accounts;

18                    c.    Have the authority to instruct the Escrow Agent with respect to permitted

19   investments of the Accounts;

20                    d.    Make decisions and take action with respect to treatment of the Accounts for
21   purposes of compliance with the Internal Revenue Code and any applicable local or state tax codes,

22   including creating reports, maintaining and reporting relating to the Accounts and their income, if

23   any, derived therefrom, and as in a Qualified Settlement Fund or such other entity as the

24   Administrator deems appropriate;

25                    e.    Out of the assets of the Accounts, purchase and maintain reasonable amounts

26   and types of insurance for errors and omissions or fidelity bonds;
27

28
                                                                                              [PROPOSED]
                                                     - 18 -                         COMMON BENEFIT ORDER
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 1                     f.    Have the authority to procure, upon consultation with the Co-Lead Counsel,

 2   professional accounting, legal and other services for the purposes of carrying out the tasks described

 3   in this Order, and to be reimbursed for the expenses of such services; and,

 4                     g.    Have the authority to adopt and implement reasonable procedures consistent

 5   with this Order and in consultation with the Co-Lead Counsel.

 6          Unless otherwise agreed to by Defendants and the Co-Lead Counsel, details of any

 7   individual settlement agreement, individual settlement amount, and individual amounts deposited

 8   into the Accounts shall be treated as confidential by the Administrator and shall not be disclosed

 9   by the Administrator to the Co-Lead Counsel, the Court, or the Court’s designee, unless the Court

10   requests that it receive that information in camera. The Administrator shall, however, on a quarterly

11   basis provide statements to the Co-Lead Counsel and the Courts showing only the aggregate of the

12   quarterly deposits, disbursements, interest earned, financial institution charges, if any, and current

13   balance.

14          B.         Requirements of the Escrow Agent
15          The Escrow Agent shall be a commercial bank that: (1) has deposits insured by the Federal

16   Deposit Insurance Corporation; (2) is organized under the laws of the United States or any state

17   thereof; and (3) has a total risk-based capital in excess of $5 billion and meets the minimum risk-

18   based ratios established under the Federal Deposit Insurance Corporation Improvement Act of

19   1991. The Escrow Agent may act as paying agent, depository, custodian or trustee with respect to

20   funds it holds.
21          The Administrator shall consider, in designating the Escrow Agent and in procuring

22   professional services, the charges that the Escrow Agent or provider of professional services will

23   impose for its actions and the ability of the Escrow Agent or provider of professional services to

24   undertake the tasks called for with efficiency and responsiveness.

25          The Escrow Agent shall not acquire or hold for longer than 90 days, any debt securities,

26   certificates or investments unless such instruments are a U.S. Treasury Bill, U.S. Treasury Money
27   Market, U.S. Government Money Market or similar type of account guaranteed by the United States

28   or an agency thereof, including an FDIC-Insured Account. The U.S. Treasury Money Market or
                                                                                              [PROPOSED]
                                                     - 19 -                         COMMON BENEFIT ORDER
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 1   U.S. Government Money Market must be registered under the Investment Company Act of 1940,

 2   as amended. In determining investments to be held by the Escrow Agent, primary regard shall be

 3   given by the Escrow Agent to safety of principal.

 4           The reasonable fees and reasonable expenses of the Administrator and Escrow Agent shall

 5   be paid by the Co-Lead Counsel. The Administrator and Escrow Agent shall each provide to Co-

 6   Lead Counsel their statements for their reasonable fees and reasonable expenses charged on a

 7   monthly basis. When this Court authorizes the filing of a Petition, the reasonable fees and expenses

 8   of the Administrator and Escrow Agent that were paid by Co-Lead Counsel may be included as

 9   items for reimbursement from the Accounts. The Petition shall include copies of the statements of

10   the Administrator and Escrow Agent that had been submitted on a monthly basis to Co-Lead

11   Counsel to support the request for reimbursement of such payments made by Co-Lead Counsel for

12   which reimbursement is requested.

13   IV.     PARTICIPATION AGREEMENT AND ELIGIBLE PARTICIPATING COUNSEL
14           An agreement attached hereto as Exhibit C (the “Participation Agreement”) is approved by

15   this Court for signature by attorneys for the purposes set forth below. The Participation Agreement

16   can be entered into by plaintiffs’ attorneys on a voluntary basis. The Participation Agreement is a

17   private and cooperative agreement between Co-Lead Counsel and plaintiffs’ attorneys only. It is

18   not an agreement with any Defendants.

19           There is no need for an attorney who already has a case filed in or transferred to this Court

20   to sign the Participation Agreement, because they are automatically subject to this Order with
21   regard to all cases and any amendments (unless they met the criteria of a remand for wrongful

22   removal as set forth in footnote 1) in which they have a fee interest, regardless of whether any of

23   their other cases are filed in other jurisdictions, or not yet filed.

24           Plaintiffs’ attorneys who execute the Participation Agreement are hereinafter referred to as

25   “Participating Counsel.” Plaintiffs’ attorneys who do not execute the Participation Agreement and

26   who are not deemed signatories to the Participation Agreement, or are otherwise not bound to
27   common benefit assessments pursuant this Order and any amendments are hereinafter referred to

28   as “Non-Participating Counsel.”
                                                                                             [PROPOSED]
                                                       - 20 -                      COMMON BENEFIT ORDER
                                                                                    CASE NO. 4:22-MD-03047-YGR
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 1           Participating Counsel who execute the Participation Agreement shall be entitled access to

 2   the Common Benefit Work Product for use in all of the cases or claims of their clients, whether the

 3   case or claim has been filed or not, and if filed, for use in any court in which it was filed even if not

 4   filed in this MDL, and for use for the benefit of non-filed claims, including any for which a tolling

 5   agreement exists. All claims or cases of a counsel who has executed the Participation Agreement

 6   shall be assessed whether the claim or case has or has not been filed, and all claims or cases in

 7   which a counsel who has executed the Participation Agreement has a fee interest shall be assessed.

 8           Non-Participating Counsel who do not execute the Participation Agreement and who are

 9   not deemed to have executed the Participation Agreement shall have no right of access to the

10   Common Benefit Work Product. However, in the event it is determined that such counsel in any

11   fashion benefitted from the Common Benefit Work Product or the administrative functions of the

12   Plaintiffs’ Leadership, then all cases and claims of clients of such counsel, whether filed or not,

13   shall be subject to the assessment described in this Order. It is deemed that the fair liquidated

14   damages for such unauthorized use of the Common Benefit Work Product is equal to the assessment

15   percentage(s) set by this Order. The Court will also consider an application by the Co-Lead Counsel

16   for payment of its fees and costs to enforce this Order with respect to any unauthorized procurement

17   or use of the Common Benefit Work Product.

18           Co-Lead Counsel may periodically request that attorneys who are subject to the assessment

19   provide a list of all cases filed, regardless of jurisdiction, and a list of all claims of clients

20   represented or in which they have a fee interest whether the case is filed or not or on a tolling
21   agreement or not, to facilitate the Co-Lead Counsels’ ability to keep track of all cases and claims

22   that are subject to the assessment. Further, all counsel with cases filed in or transferred to this Court,

23   and those who sign the Participation Agreement, must comply with such a request within 30 days

24   of the request.

25   V.      ASSESSMENTS AND PAYMENTS INTO THE ACCOUNTS

26           A.        Assessment Allocation
27           For Participating Counsel, the assessment shall be a combined 10% for fees and costs, with

28   the appropriate division between fees and costs to be proposed by Co-Lead Counsel and approved
                                                                                                 [PROPOSED]
                                                       - 21 -                          COMMON BENEFIT ORDER
                                                                                        CASE NO. 4:22-MD-03047-YGR
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 1   by the Court prior to any disbursement from the Accounts. The portion of the 10% allocated to fees

 2   shall be paid entirely out of attorney’s fees. The MDL assessment represents a hold back pursuant

 3   to In re Zyprexa Prods. Liab. Litig., 467 F. Supp. 2d 256, 266 (2d. Cir. 2006). The Co-Leads may

 4   adjust the 10% up or down as appropriate, subject to Court approval.

 5          B.      Calculating the Assessment

 6          For any attorney subject to an assessment under the terms of this Order, the assessment is

 7   owed on the “Gross Monetary Recovery” on all of that attorney’s cases or claims. A Gross

 8   Monetary Recovery occurs when a plaintiff agrees or has agreed—for monetary consideration—to

 9   settle, compromise, dismiss, or reduce the amount of a claim (a “Settlement”) or, with or without

10   trial, recover a judgment for monetary damages or other monetary relief, including compensatory

11   damages and/or abatement costs and/or punitive damages (a “Judgment”), with respect to any

12   Social Media-related claims. The Gross Monetary Recovery excludes court costs that are to be paid

13   by Defendant(s) and includes the present value of any fixed and certain payments to be made in the

14   future, such as those that come about as a result of a structured settlement of a claim.

15          C.      Defendants’ Obligations

16          Defendants and their counsel shall not distribute any Settlement or Judgment proceeds to

17   any counsel or plaintiff until after (1) Defendants’ counsel notifies Co-Lead Counsel in writing of

18   the existence of a settlement and the name of the individual plaintiff’s attorney (without disclosing

19   the amount of the settlement); and (2) Co-Lead Counsel have advised Defendants’ counsel in

20   writing whether or not the individual plaintiff’s attorney’s cases are subject to an assessment
21   pursuant to this Order.

22          For cases subject to an assessment, Defendants are directed to withhold an assessment from

23   any and all amounts paid to plaintiffs and their counsel and to confidentially pay the assessment

24   directly into the Accounts based on the allocations set forth in Section V.A above as a credit against

25   the Settlement or Judgment. Counsel for each Defendant must provide quarterly notice to the

26   Administrator, who will share the notice with Co-Lead Counsel, of the names and docket numbers
27   of the cases for which it has paid an assessment into the Funds since the last such report. A report

28   is not due if there are no payments made into the Funds by that Defendant during that quarter.
                                                                                              [PROPOSED]
                                                     - 22 -                         COMMON BENEFIT ORDER
                                                                                     CASE NO. 4:22-MD-03047-YGR
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 1   Details of any individual settlement agreement, individual settlement amount and individual

 2   amounts deposited into escrow will be confidential and must not be disclosed by the Administrator

 3   to anyone, except to the Court upon its request. Quarterly statements from the Administrator,

 4   however, will be provided to Co-Lead Counsel, and to the Court if it so requests, showing only the

 5   aggregate of the quarterly deposits, disbursements, interest earned, financial institution charges, if

 6   any, and current balance.

 7           This Order shall in no way be read to affect or otherwise encumber any Defendants’

 8   obligation to pay attorneys’ fees and costs pursuant to fee shifting statutes, if any, that may apply

 9   in this case.

10           D.      Other Rights

11           Nothing in this Order is intended to impair the attorney/client relationship or any

12   contingency fee contract deemed lawful by the attorneys’ respective bar rules and/or state court.

13           IT IS SO ORDERED.

14
      Dated: March 15, 2023
15                                                   YVONNE GONZALEZ ROGERS
                                                    UNITED STATES DISTRICT JUDGE
16

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                                                                                              [PROPOSED]
                                                     - 23 -                         COMMON BENEFIT ORDER
                                                                                     CASE NO. 4:22-MD-03047-YGR
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                EXHIBIT A
                                            Case 4:22-md-03047-YGR Document 190 Filed 03/15/23 Page 25 of 37



                                                                                SOCIAL MEDIA MDL
                                                                               MONTHLY TIME REPORT

           Firm Name:
                 Date:

Categories: 1. Leadership Case Management Duties 2. Leadership calls/meetings 3. Admin 4. Court appearances 5. Pleadings/Briefing 6. Research 7. Litigation strategy
8. Doc review & analysis 9. Discovery 10. Experts 11. Settlement 12. Trial prep 13. Trial 14. Appeal 15. Miscellaneous

                            Professional
                           Level: Partner
                          (PT), Associate                                                                                                Co-Lead Counsel Who                   Time Spent
                                                              Category
 Last Name, First Name   (A), Contract (C), Date of Service                         Detailed Description of Work Performed               Assigned Or Approved   Billing Rate      (by 0.1    Fees Total
                                                               Code
                            Of Counsel                                                                                                           Work                          increments)
                              (OC), or
                          Paralegal (PR)




                                                                                                                                                                                  EXHIBIT A
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                 EXHIBIT B
                                      Case 4:22-md-03047-YGR Document 190 Filed 03/15/23 Page 27 of 37



                                                                                 SOCIAL MEDIA MDL
                                                                               MONTHLY EXPENSE REPORT

            Firm Name:
                  Date:

Categories: 1. Assessment Fees 2. Federal Express / Local Courier, etc. 3. Postage Charges 4. In-House Photocopying 5. Outside Photocopying 6. Hotels 7. Meals 8. Mileage 9. Air
Travel 10. Deposition Costs 11. Lexis/Westlaw 12. Court Fees 13. Witness / Expert Fees 14. Investigation Fees / Service Fees 15. Transcripts 16. Ground Transportation (i.e. Rental,
Taxis, etc.) 17. Miscellaneous (Describe)

                                                                                                                            Co-Lead Counsel Who                      Receipt Provided:
                                           Category
 Last Name, First Name        Date                                             Detailed Description                         Assigned Or Approved       Amount       Yes/No (if no, provide
                                            Code
                                                                                                                                    Work                                  reason)




                                                                                                                                                                   EXHIBIT B
Case 4:22-md-03047-YGR Document 190 Filed 03/15/23 Page 28 of 37




                EXHIBIT C
     Case 4:22-md-03047-YGR Document 190 Filed 03/15/23 Page 29 of 37



 1

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 8                                 UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10

11   IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-MD-03047-YGR
     ADDICTION/PERSONAL INJURY
12   PRODUCTS LIABILITY LITIGATION                    MDL No. 3047

13
     This Document Relates to:                         COMMON BENEFIT ORDER, EXHIBIT C
14
     ALL ACTIONS
15

16
                     MDL 3047 COMMON BENEFIT PARTICIPATION AGREEMENT
17

18               THIS AGREEMENT is made this ____ day of _____________, 20__, by and
19   between Co-Lead Counsel appointed by the United States District Court for the Northern
20   District of California in MDL 3047 and _________________________________ [Name of
21   the Attorney and their Law Firm Executing the Agreement on behalf of themselves and
22   their Law Firm] (the “Participating Counsel”).
23               WHEREAS, the United States District Court for the Northern District of California
24   (MDL 3047) has appointed the following to as Leadership for Plaintiffs to facilitate the
25   conduct of pretrial proceedings in this MDL:
26

27

28
     2711885.2                                                       COMMON BENEFIT ORDER, EXHIBIT C
                                                                                Case No. 4:22-MD-03047-YGR
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 1   Attorney                       Firm                                        Leadership
     Lexi Hazam                     Lieff Cabraser Heimann & Bernstein LLP      Co-lead counsel
 2   Christopher Seeger             Seeger Weiss                                Co-lead counsel
     Previn Warren                  Motley Rice                                 Co-lead counsel
 3
     Jennie Anderson                Andrus Anderson                             Liaison counsel
 4   Joseph VanZandt                Beasley Allen                               PSC Leadership
     Alexandra Walsh                Walsh Law                                   PSC Leadership
 5   Mike Weinkowitz                Levin, Sedran & Berman                      PSC Leadership
     Emily Jeffcott                 Morgan & Morgan                             PSC Leadership
 6   Andre Mura                     Gibbs Law Group                             PSC Leadership
     Jayne Conroy                   Simmons Hanley Conroy                       PSC Leadership
 7
     Matthew Bergman                Social Media Victims Law Center PLL         PSC Leadership
 8   Ron Austin                     Ron Austin Law LLC                          PSC
     James Bilsborrow               Weitz and Luxenberg                         PSC
 9   Paige Boldt                    Watts Guerra                                PSC
     Carrie Goldberg                C.A. Goldberg                               PSC
10   Sin-Ting Mary Liu              Aylstock Witkin Kreis & Overholtz           PSC
     Emmie Paulos                   Levin Papantonio Rafferty                   PSC
11
     Roland Tellis                  Baron Budd, P.C.                            PSC
12   Diandra “Fu” Debrosse          DiCello Levitt Gutzler                      PSC
     Zimmermann
13   James Marsh                    Marsh Law Firm                              PSC
     Hillary Nappi                  Hach Rose Schirripa & Ch                    PSC
14   Ruth Rizkalla                  The Carlson Law Firm                        PSC
15

16               WHEREAS, Leadership for Plaintiffs in association with other attorneys working for

17   the common benefit of plaintiffs have developed and are in the process of further developing

18   work product and a record that will be valuable in all proceedings and benefits all plaintiffs

19   alleging injuries or damage caused by Defendants (“Common Benefit Work Product”);

20               WHEREAS, Participating Counsel wants to acquire the Common Benefit Work

21   Product and establish a framework for an amicable, working relationship with Leadership for

22   Plaintiffs for the mutual benefit of their clients, and for those attorneys who perform work

23   authorized, audited and approved as common benefit to seek common benefit compensation;

24               NOW THEREFORE, in consideration of the covenants and promises contained

25   herein, and intending to be legally bound hereby, the parties agree as follows:

26

27

28
     2711885.2                                 -1-                   COMMON BENEFIT ORDER, EXHIBIT C
                                                                                 Case No. 4:22-MD-03047-YGR
        Case 4:22-md-03047-YGR Document 190 Filed 03/15/23 Page 31 of 37



 1 I.     SCOPE OF AGREEMENT

 2            A.    Purpose

 3            1.    This Participation Agreement is a private cooperative agreement between

 4   plaintiffs’ attorneys to share Common Benefit Work Product with regard to all injuries and

 5   damages arising from Social Media Adolescent Addiction/Personal Injury-related claims by

 6   Participating Counsel, pursuant to the Court’s Common Benefit Order. Plaintiffs’ attorneys

 7   who execute this Participation Agreement are entitled to receive the Common Benefit Work

 8   Product created by those attorneys who have also executed or have been deemed to have

 9   executed the Participation Agreement.

10            2.    The intent of this Participation Agreement is to establish, secure, and supervise

11   a fund to promote the purposes and policies of the common benefit doctrine and provide a

12   source for equitable payment of services rendered and costs incurred for the benefit of

13   plaintiffs.

14            3.    There is no need for an attorney who already has a case filed in or transferred to

15   the MDL to sign the Participation Agreement, because they are automatically subject to the

16   Common Benefit Order, and any amendments with regard to all cases in which they have a fee

17   interest, regardless of whether any of their other cases are filed in other jurisdictions, or not yet

18   filed.

19            4.    For those cases that have been transferred to the MDL, but are subject to a

20   remand motion, if a case is determined to have been improperly removed to this Court after the

21   Court’s consideration of the remand motion and is remanded to the transferor court, that case

22   will not automatically be subject to Common Benefit Assessment by virtue of it having been

23   temporarily venued in this Court. However, if the case received and benefited from the work

24   product of the MDL, it could be assessed, after due consideration by the Court following

25   briefing by the parties.

26            B.    Rights and Obligations of Participating Counsel

27            5.    Upon execution of this Participation Agreement, Co-Lead Counsel will provide

28   access to Participating Counsel the Common Benefit Work Product defined in the Court’s
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 1   Common Benefit Order, and any amendments, including access to the document depository as

 2   well as all the coding and summarizing of the documents in the depository, access to all

 3   deposition transcripts and summaries, deposition cuts for the purpose of trial, medical literature

 4   library, legal briefing and research, and, as deemed appropriate by Co-Lead Counsel, expert

 5   witness work product. Participating Counsel agree that all Social Media Adolescent

 6   Addiction/Personal Injury cases, as defined in paragraph 11 below, in which Participating

 7   Counsel has a fee interest, including unfiled cases, tolled cases, and/or cases filed in state

 8   and/or federal court, are subject to the terms of this Participation Agreement.

 9          6.      Co-Lead Counsel may periodically request that Participating Counsel produce a

10   list setting forth the name of each Social Media Adolescent Addiction/Personal Injury client

11   represented by them (whether filed or unfiled) or in which they have any interest in an

12   attorneys’ fee, together with the Court and docket number (if filed) of each such case. Unless

13   otherwise specified, Participating Counsel shall provide such a list within 30 days of a request

14   to   Co-Lead    Counsel    Lexi   Hazam     at   lhazam@lchb.com,      Christopher     Seeger     at

15   CSeeger@seegerweiss.com, and Previn Warren at pwarren@motleyrice.com.

16 II.    AGREEMENT TO PAY AN ASSESSMENT ON GROSS RECOVERY

17          7.      Subject to the terms of this Participation Agreement and the terms of the

18   Common Benefit Order, and any amendments, all Plaintiffs and their attorneys who either

19   agree or have agreed—for a monetary consideration—to settle, compromise, dismiss, or reduce

20   the amount of a claim or, with or without trial, recover a judgment for monetary damages or

21   other monetary relief, including such compensatory and punitive damages, with respect to

22   Social Media Adolescent Addiction/Personal Injury-related claims or cases are subject to an

23   assessment of the gross settlement amount..

24          A.      Gross Monetary Recovery Defined

25          8.      “Gross Monetary Recovery” includes any and all amounts paid to Plaintiffs by

26   Defendants through a settlement or pursuant to a judgment. Gross Monetary Recovery

27   (a) excludes court costs that are to be paid by the defendant; and (b) includes the present value

28   of any fixed and certain payments to be made in the future. The assessment shall apply to all
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 1   of the claims or cases of the attorneys who are subject to the Common Benefit Order that are

 2   pending in the MDL or state court as well as any unfiled or if applicable, tolled claims or cases

 3   of such attorneys in which they are counsel or co-counsel, or in which they have any interest.

 4                B.   Assessment Amount

 5               9.    For Participating Counsel, the assessment shall be a combined 10% for fees and

 6   costs, with the appropriate division between fees and costs to be proposed by Co-Lead Counsel

 7   and approved by the Court prior to any disbursement from the Accounts. Co-Lead Counsel

 8   may adjust this percentage up or down with approval of the Court.

 9               10.   This assessment represents a hold back pursuant to In re Zyprexa Prods. Liab.

10   Litig., 467 F.Supp.2d 256, 266 (2d. Cir. 2006).

11               C.    Covered Claims or Cases

12               11.   Counsel who sign (or who are deemed to have signed) this Participation

13   Agreement agree that the assessment shall apply to all unfiled claims or cases, tolled (if

14   applicable) claims or cases, and claims or cases filed in other courts in which they have any fee

15   interest. Covered claims or cases include all Social Media Adolescent Addiction/Personal

16   Injury-related claims or cases or actions.

17               D.    Attorney Fee Lien

18               12.   With respect to each client who they represent in connection with related claims

19   or cases that are filed or pending in any court, unfiled or subject to a tolling agreement,

20   consistent with the Common Benefit Order establishing the common benefit Social Media Fee

21   and Social Media Expense Accounts, each Participating Counsel agrees to have Defendants

22   deposit or cause to be deposited into the Social Media Fee and Social Media Expense

23   Accounts a percentage proportion of the gross amount recovered by each such client that is

24   equal to the assessment amount.

25               13.   In the event Defendants do not deposit such funds into the Social Media Fee

26   and Social Media Expense Accounts, Plaintiff and Plaintiff’s Participating Counsel are

27   required to so inform the Co-Lead Counsel, and shall deposit or cause to be deposited in the

28
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 1   Social Media Fee and Social Media Expense Accounts the percentage proportion of the gross

 2   amount recovered by each such client that is equal to the assessment amount.

 3               14.   Participating Counsel, on behalf of themselves, their affiliated counsel, and

 4   their clients, hereby grant the Co-Lead Counsel a lien upon and a security interest in any fee

 5   generated as a result of any recovery by any client who they represent in connection with any

 6   Social Media Adolescent Addiction/Personal Injury claims to the full extent permitted by law,

 7   in order to secure payment in accordance with the provisions of this Participation Agreement.

 8               15.   Participating Counsel will undertake all actions and execute all documents that

 9   are reasonably necessary to effectuate and perfect this lien and/or security interest.

10 III.          COMMON BENEFIT EXPENSES

11               A.    Qualified Expenses Eligible for Reimbursement

12               16.   In order to be eligible for reimbursement, expenses (“Common Benefit

13   Expenses”) must meet the requirements set forth in the Common Benefit Order, Section II.E,

14   which are incorporated herein as if set forth in their entirety. Specifically, said expenses must

15   be:

16                        a. for the common benefit;

17                        b. appropriately authorized, as set forth in the Common Benefit Order and

18                            the Participation Agreement;

19                        c. certified by a senior partner of the submitting firm each month attesting

20                            to the accuracy and correctness of the monthly submission; and,

21                        d. approved by the Common Benefit Time and Expense Billing Manager

22                            and Auditor pursuant to her designated authority as set forth in the

23                            Common Benefit Order.

24               B.    Expense Reporting Protocol

25               17.   Participating Counsel must submit expenses consistent with the Common

26   Benefit Order and any amendments thereto. Expenses incurred on matters common to all

27   claimants in MDL 3047 and authorized by Co-Lead Counsel may be submitted for

28   reimbursement.
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 1               18.   No costs spent on developing or processing individual issues in any case for an

 2   individual client will be considered or should be submitted, unless that case is an authorized

 3   bellwether trial case set for trial.

 4   IV.         COMMON BENEFIT WORK

 5               A.    Qualified Common Benefit Work Eligible for Reimbursement

 6               19.   In order to be eligible for reimbursement time and efforts expended for common

 7   benefit work must meet the requirements set forth in the Common Benefit Order and any

 8   amendments thereto.

 9               20.   Participating Counsel shall be eligible to seek reimbursement for time and efforts

10   expended for Common Benefit Work, if said time and efforts are:

11                         a. for the common benefit;

12                         b. appropriately authorized;

13                         c. timely submitted;

14                         d. certified by a senior partner of the submitting firm each month attesting

15                             to the accuracy and correctness of the monthly submission; and,

16                         e. approved by the Common Benefit Time and Expense Billing Manager

17                             and Auditor, pursuant to her designated authority as set forth in the

18                             Common Benefit Order.

19               B.    Authorization

20               21.   Time spent on matters common to all claimants in MDL 3047 must be assigned

21   by Co-Lead Counsel to be eligible for consideration for common benefit. No time spent on

22   developing or processing individual issues in any case for an individual client will be

23   considered or should be submitted, nor will time spent on unauthorized and unapproved work.

24               22.   For examples of authorized and unauthorized work please review the Common

25   Benefit Order and any amendments thereto.

26

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 1               C.    Common-Benefit Time Keeping Protocols

 2               23.   As set forth in the Common Benefit Order and any amendments therto, all time

 3   must be accurately and contemporaneously maintained. Participating Counsel agree to follow

 4   the time-keeping protocols set forth in Common Benefit Order and any amendments therto.

 5               24.   Upon order of the Court, payments may be made from the Social Media Fee

 6   and Social Media Expense Accounts to Participating Counsel who provide services or incur

 7   expenses for the joint and common benefit of plaintiffs. Attorneys eligible are limited to

 8   Plaintiffs’ Co-Lead Counsel, Liaison Counsel, Steering Committee Leadership and

 9   Membership, other MDL counsel called upon to assist in performing the Plaintiffs’

10   Leadership’s responsibilities, and other Participating Counsel called upon by the Plaintiffs’

11   Leadership to assist in performing their responsibilities.

12               25.   No Individual Rights to the Funds. No party or attorney has any individual

13   right to any of funds from the assessment except to the extent of amounts directed to be

14   disbursed to such person by Order of this Court. These funds will not constitute the property of

15   any party or attorney or be subject to garnishment or attachment for the debts of any party or

16   attorney except when and as directed to be disbursed as provided by court order to a specific

17   person.

18               26.   Court Approval. The amounts deposited in the Social Media Fee and Social

19   Media Expense Accounts shall be available for distribution only to attorneys who have

20   performed professional services or incurred expenses for the common benefit. The MDL Court

21   retains jurisdiction over the common benefit award. Each Participating Counsel who does

22   authorized common benefit work has the right to present their claim(s) for compensation prior

23   to any recommendation to the Court.

24               27.   Other Fee Assessments. This Participation Agreement is without prejudice to

25   such other assessments of or awards of fees and costs as may be ordered by any Court,

26   including under Federal Rule of Civil Procedure 23(h) or any analogous state court procedural

27   rules, the common benefit doctrine, or that may be provided by contract between attorneys and

28   clients.
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 1               28.   Fee Committee. Participating Counsel understands that at a later date the

 2   Common Benefit Time and Expense Billing Manager and Auditor, and/or a Fee and Expense

 3   Committee appointed by the Court, may make recommendations to the MDL Court on how

 4   funds in the Social Media Fee and Social Media Expense Accounts should be distributed.

 5                                    AGREEMENT TO BE BOUND
 6
     Dated: ________________, 20__
 7
                                                Firm Name:
 8                                              Attorney’s Name:

 9

10   I hereby agree to be a Participating Counsel and certify that I am signing this Participation
     Agreement voluntarily. I also certify that I have the authority and power to bind my law firm
11   into this Participation Agreement.
12   ON BEHALF OF THE PLAINTIFFS’ CO-LEAD COUNSEL:
13   Dated: ________________, 20__
                                                Lexi Hazam
14

15   Dated: ________________, 20__
                                                Christopher Seeger
16
     Dated: ________________, 20__
17                                              Previn Warren
18

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